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                   In the United States District Court
                        for the District of Kansas
                          (Kansas City Docket)


United States of America,
                              Plaintiff,

v.                                              Case No. 22-20047-DDC

Juan Colbert
                              Defendant.


                        Sentencing Memorandum



      If there was one thing Juan Colbert learned during his three years at

CoreCivic and USP Leavenworth, it was that you do not take threats to your

personal safety lightly. How much of that was attributable to the things he

saw and experienced in these facilities and how much of that was

attributable to the mental health conditions he suffered from as a result of

what he saw and experienced is hard to say. Regardless, when he was told

that a group of inmates were coming for him, he armed himself for protection.

He was then prosecuted and convicted for possession of contraband in prison.

      These circumstances call for a below-guideline variance from the PSR’s

calculated range of 18 to 24 months in prison. With adjustments in criminal

history based on the impending Guideline amendments, Mr. Colbert asks this
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Court for a sentence of eight months consecutive to the 84-month sentence he

is currently serving.


CoreCivic 1

      On May 15, 2019, Mr. Colbert was arrested and charged in the Western

District of Missouri for unlawful transport of a firearm. He has remained in

federal custody since that date. From May 2019 through December 2021, Mr.

Colbert lived at CoreCivic in Leavenworth. Mr. Colbert, and all other pretrial

detainees, were transferred out of CoreCivic to a new pretrial section of USP

Leavenworth at the end of 2021. CoreCivic was then shuttered.

      The environment at CoreCivic had deteriorated significantly over the

last few years that federal detainees, like Mr. Colbert, were held there.

Tragic events that were once seen as anomalies were rapidly becoming

commonplace. The facility had become violent, dangerous, and out-of-control. 2

Not only had many clients consistently reported this decline over the final

few years, but the data confirmed it.

      From February to August of 2021, there was at least one inmate

homicide, two major inmate assaults, and one major assault of a staff



1 This section will address 18 U.S.C. 3553(a)(1) and (a)(2)
2 See https://www.npr.org/2021/09/13/1036576308/biden-ended-contracts-with-

private-prisons-so-one-may-turn-to-house-immigrants;
https://www.kmbc.com/article/aclu-push-to-close-private-leavenworth-kansas-
prison/37995336#.
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     member reported. As a result of the major assault on staff, CoreCivic

     conducted a facility-wide shakedown from February 9 to 11, 2021. After that

     shakedown, things did not improve. The number of physical assaults between

     detainees, physical assaults between detainees and staff, and use of force

     incidents (on detainees) continued to rise and remained elevated even after

     the February 2021 facility-wide shakedown. [Attachment A] 3



                                                  CoreCivic Violent Behavior
60




50




40




30




20




10




0




                      number of physical assaults between detainees (inmate assaults)
                      number of physical assaults between CoreCivic staff and detainees (staff assaults)
                      number of corrective or punitive measures have been used against any detainee (use of force incidents)
                      TOTAL




     3 This information was supplied by CoreCivic in the form of a spreadsheet created

     from CoreCivic’s internal records.
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      From July of 2020 to August of 2021, there were only two months with

a notable decrease in violent incidents. In February 2021 and August of 2021,

the total violent incidents decreased into the twenties. These decreases were

undoubtably due to the facility being on complete lockdown (due to major

assaults or homicides) during those months. Although the lockdowns

decreased the overall violent incidents, maybe the more notable point is that

they were not completely eradicated. In fact, use of force events remained

surprisingly high during those months.

      For Mr. Colbert, the CoreCivic he remained warehoused in from May

2019 through December 2021 continually deteriorated. The 3-month average

of violent incidents from September 2018 to November 2018 was 11.67. The

3-month average from May 2021 to July 2021 was 36.67. That is a 318%

increase. The incidents nearly tripled. An incarceration defined by extreme

violence, constant threat, and lengthy lockdowns was a more severe

punishment and a more traumatic experience than the same length of

incarceration in a safe facility with fewer restrictions.

      These conditions had a direct impact on Mr. Colbert’s mental well-

being. When Mr. Colbert was interviewed for his presentence investigation

report for the Western District of Missouri in 2020, he reported not suffering

from any mental illness. That began to change with the steady rise of
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violence at CoreCivic. In August 2021, Mr. Colbert began to report symptoms

of anxiety and sleeplessness.




      Again, in September 2021, he made another plea for help. This time, Dr.

Johnson evaluated him, diagnosis him with anxiety and depression, and prescribed

him medication. [Attachment B]
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     Despite the new prescription, Mr. Colbert continued to suffer the effects

of CoreCivic in the form of mental health struggles. By October 2021, he was

requesting an increase in medication.




     Mr. Colbert continued to struggle through November 2021. He

requested another mental health appointment as his concern for his own

behavior increases.
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     By December 2021, he was exhibiting symptoms that mirror those

exhibited by people suffering from Posttraumatic Stress Disorder.




     There was no record available commemorating a December 16, 2021,

meeting between Mr. Colbert and Dr. Johnson, but it is clear by the
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September 28, 2022, transfer summary that one occurred. [Attachment C] By

that time, Mr. Colbert was diagnosed with Major Depressive Disorder,

Anxiety Disorder, and Posttraumatic Stress Disorder. Mr. Colbert developed

all three disorders while held at CoreCivic. It was with these newly developed

mental conditions that he was transferred to USP Leavenworth.


Hypervigilance

      Criterium E for a diagnosis of Posttraumatic Stress Disorder requires

“[m]arked alterations in arousal and reactivity associated with the traumatic

event(s), beginning or worsening after the traumatic event(s) occurred, as

evidenced by two (or more) of the following. . . .” 4 The third listed behavior

within those criteria is “hypervigilance.” 5 Hypervigilance is a state of

heightened alertness accompanied by behavior that aims to prevent danger. 6

      The way a person behaves when they are experiencing hypervigilance

can vary. 7 However, there are some common types of behavior that often

occur. 8 Here are the most relevant behaviors for our purposes: 9

   • overreact to things happening around them in a way that may seem
     hostile.

4American Psychiatric Association. Diagnostic and statistical manual of mental

disorders. 5th ed. Arlington, VA: American Psychiatric Association; 2013. pp. 271–
272.
5 Id.
6 https://www.medicalnewstoday.com/articles/319289
7 Id.
8 Id.
9 Id.
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   • look closely at people to see if they are holding weapons.
   • overanalyze situations and believe them to be worse than they are.
   • overestimate the chances of a bad thing happening to them physically.
         Whether the transfer from CoreCivic to USP Leavenworth was an

upgrade is debatable. Mr. Colbert remained exposed to trauma. Even if the

exposure to trauma was reduced in the new environs, the symptoms of

Posttraumatic Stress Disorder and the resulting behaviors would not

disappear. Removing a person from the initial trauma does not eliminate the

resulting disorder. In other words, Mr. Colbert was still suffering from

Posttraumatic Stress Disorder and still vulnerable to its affects.


A Perceived or Actual Need for a Shank at USP Leavenworth 10

         In May 2022, Juan Colbert was assigned to a cell in housing unit A-1 at

USP Leavenworth. 11 A few weeks before his sentencing in the Western

District of Missouri and a few days before he was found with a six-inch piece

of sharpened metal in his waistband, Mr. Colbert was playing poker with

several other detainees on the unit. 12 Mr. Colbert won the poker match. 13

         Later that day, Donnell Hall, who was also housed in unit A-1,

overheard the five or six detainees that lost the match discussing a plan to




10 This section will address 18 U.S.C. 3553(a)(1) and (a)(2)
11 PSR, Paragraph 6.
12 Interview of Donnell Hall on March 9, 2023.
13 Id.
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“run in” Mr. Colbert’s cell with knives to take his stamps and food. 14 Mr. Hall

explained that “running in” someone’s cell meant that they would assault Mr.

Colbert. 15 Mr. Hall pulled Mr. Colbert aside to let him know what he had

overheard. 16 Mr. Colbert never returned to the poker table. 17

         Given the disclosure of these assaultive plans, Mr. Colbert’s

experiences at CoreCivic, and his resulting Posttraumatic Stress Disorder, it

is no wonder he armed himself for protection. When Mr. Colbert was

discovered to possess the sharpened piece of metal only a couple days after

the poker game, he was not using the contraband against anyone. 18 It was

discovered upon a pat search of him after correctional offers were called to

the unit for an unrelated issue. 19 Mr. Colbert was not known to carry

protection, nor was he known to instigate trouble. 20 Nevertheless, Mr.

Colbert spent the rest of his time at USP Leavenworth in the Segregated

Housing Unit.

         Before these events unfolded, Mr. Colbert was known to be a positive

and peaceful person. Upon discovering a credible threat to his safety, Mr.




14 Id.
15 Id.
16 Id.
17 Id.
18 PSR, Paragraph 6.
19 Id.
20 Interview of Donnell Hall on March 9, 2023.
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Colbert reacted in an attempt to survive. These circumstances justify a

downward variance in Mr. Colbert’s sentence.


Upcoming Guideline Amendments 21

         Mr. Colbert’s criminal history score subtotal is seven. 22 He then

receives two status points under 4A1.1(d), bringing his total to nine points.

This places him in Criminal History Category IV. However, two guideline

amendments that take effect on November 1, 2023, would modify his criminal

history score and guideline calculation. Although the amendments will not

take effect for three more months, instead of requesting a continuance of the

sentencing hearing, Mr. Colbert asks this Court to sentence him consistent

with the amendments being in effect at this time.


Change in Status Points [4A1.1]

         The United States Sentencing Commission is changing the way status

points are calculated. If a person has six points or less, there will be no

additional points for being under court supervision when committing the

instant offense. If a person has seven points or more, there will only be one

pointed added. Mr. Colbert currently has a subtotal of seven points. 23 His

new total would be eight points instead of nine. Eight points, however, is also



21 This section will address 18 U.S.C. 3553(a)(4)(A) and (a)(6)
22 PSR, Paragraph 34
23 Id.
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an over-representation of Mr. Colbert’s true criminal history calculation, as

we explain below.


Downward Departure for Possession of Marijuana for Personal Use [4A1.3]

      The United States Sentencing Commission is also adding a provision

for a downward departure for prior convictions that add points to criminal

history for possession of marijuana for personal use. Under USSG §4A1.3,

Mr. Colbert has one prior conviction for simple possession of marijuana. In

case number 2G041973/111046109/113, Mr. Colbert was convicted of

possession of marijuana, no insurance, and driving while suspended. This

case counted for one point on his criminal history calculation, but it was also

the basis for his status points. All-in-all, this conviction alone accounted for

three criminal history points and placed Mr. Colbert in Criminal History

Category IV. In other words, without counting the simple possession of

marijuana convictions, Mr. Colbert’s criminal history subtotal would be six

points. In turn, he would not qualify for any status points under the

previously discussed amendment. His Criminal History Category would then

be III.

      Once it is determined the departure applies, the question remains how

much the Court should depart downward. We propose the Court consider a

reduction consistent with the low-end of Mr. Colbert’s guideline range had
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the possession of marijuana case not counted as criminal history points. This

would put his total criminal history points at six, which would be a Criminal

History Category III. With the initial offense level calculated by probation,

the low-end of Mr. Colbert’s guidelines would be 12 months. The Court should

then apply another 4-month variance to account for Mr. Colbert’s mental

health diagnosis and the imminent threat to his well-being.


Conclusion

      Juan Colbert entered CoreCivic with no mental health diagnosis. He

had no control over the violence he observed and endured there. He exited

with Major Depressive Disorder, Anxiety, and Posttraumatic Stress Disorder.

His reaction to a credible threat at USP Leavenworth was predictable and

understandable. Mr. Colbert is still serving an 85-month sentence from the

Western District of Missouri. An additional eight-month sentence is sufficient

but not greater than necessary to accomplish the goals of 18 U.S.C. §3553(a).


                                     Respectfully submitted,


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                     CERTIFICATE OF SERVICE


      I certify that on August 10, 2023, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system which will send a
notice of electronic filing to the following:


Ryan Huschka
Assistant United States Attorney
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                                           s/ Tim Burdick
                                           TIM BURDICK #78152
